BARNHILL, J., dissenting.
DEVIN and WINBORNE, J., concur in dissent.
This is an action by a father to recover damages for expenses incurred and loss of services due to injuries to his infant *Page 415 
daughter, alleged to have been negligently inflicted by the defendants. It is alleged in the complaint that the defendant Rosa Farris owned an automobile and that the defendant John Farris, while operating said automobile as the agent of his codefendant, negligently ran it against and over the infant daughter of the plaintiff and inflicted serious and permanent injury to said daughter, necessitating medical care and nursing for which plaintiff paid, and deprived the plaintiff of the future services of his said daughter.
The answer denied the allegations of negligence; and for a further defense prayed that this action be dismissed for the reason that the plaintiff was estopped from maintaining it by having acted as next friend of his infant daughter, as plaintiff in another action against the defendants in this action, to recover damages for personal injuries negligently inflicted, and that substantially the same allegations of negligence were made in the other action as are made in this action, and that upon trial of the other action the jury found that said infant daughter was not injured by the negligence of the defendants as alleged.
It was agreed by counsel that the court might find the facts relating to the prayer for dismissal and render judgment thereupon. The court found that the former action had been brought by the present plaintiff as the next friend of his infant daughter against the present defendants, and that the allegations of negligence therein were "practically identical" as the allegations of negligence in this case, and that upon trial of the former action the jury answered in the negative the following issue: "Was the plaintiff injured by the negligence of the defendants, as alleged in the complaint," and that judgment was rendered in favor of the defendants from which plaintiff did not perfect appeal, and that said judgment "became final and binding upon the parties to said action and those who were privy thereto"; and that plaintiff's alleged cause of action grew out of the identical facts and circumstances alleged as a basis of the action instituted by the plaintiff as next friend of his infant daughter against the defendants herein.
The court then concluded as a matter of law that "the plaintiff in the present action, having been a party as next friend of his infant child in the first action, and the jury having determined in said action that the defendants were not negligent in respect to the matters alleged against them . . . defendants' plea in bar should be sustained," and ordered and adjudged that the present action be dismissed at the cost of the plaintiff.
To the judgment the plaintiff reserved exception.
The court was in error in holding that the plaintiff in this action, in acting as next friend for his infant daughter as plaintiff in the former action, became a party to such former action and was estopped by the *Page 416 
verdict and judgment therein from maintaining the present action, and that the defendants' plea in bar should, therefore, be sustained.
Ruffin, J., in George v. High, 85 N.C. 113, says: "It has been decided by this Court in several cases, and amongst them the cases of Branch v.Goddin, 60 N.C. 493; Falls v. Gamble, 66 N.C. 455, and Mason v.McCormick, 75 N.C. 263, that one who conducts a suit as guardian or next friend for infants is not a party of record, but that the infants themselves are the real plaintiffs."
In Krachanake v. Mfg. Co., 175 N.C. 435, in speaking of the next friend of the infant plaintiff, the Court said: "The father is not, however, a party in the legal sense. He is an officer appointed by the court to protect the interest of his son, who is the real plaintiff (Hockoday v. Lawrence, 156 N.C. 322). . . ."
There exists no privity between the plaintiff in this action and the plaintiff in the former action. "The term `privity' means mutual or successive relationship to the same rights or property." Black's Law Dictionary (2nd Ed.), p. 943. The two actions were not related to "the same rights or property."
"Ordinarily, the rule is that only parties and privies are bound by a judgment. Bennett v. Holmes, 18 N.C. 486; Simpson v. Cureton, 97 N.C. 112;Hines v. Moye, 125 N.C. 8. No estoppel is created by a judgment against one not a party or privy to the record by participation in the trial of the action. Falls v. Gamble, 66 N.C. 455; LeRoy v. SteamboatCo., 165 N.C. 109." Meacham v. Larus  Brothers Co., 212 N.C. 646.
The cases of White v. Charlotte, 211 N.C. 186, and White v. Charlotte,212 N.C. 539, relied upon by the appellees, are not applicable to this case. The former case was brought by the father as administrator against the city of Charlotte and Charlotte Park and Recreation Commission for the wrongful death of his intestate and a judgment of nonsuit was sustained upon appeal, "for the reason that there was no evidence at the trial tending to show that the death of plaintiff's intestate was caused by the negligence of the defendants or either of them." The latter case was brought by the father of the infant intestate against the same defendants for loss of the services of his deceased daughter and a judgment of nonsuit was sustained for the reason that "The evidence in this case was substantially the same as in White v. Charlotte, supra, except that one additional witness was offered, whose testimony tends to show contributory negligence on the part of the deceased. White v. Charlotte, supra, is controlling." No question of estoppel or res adjudicata was raised, both cases being dismissed upon a demurrer to the evidence, which was substantially the same in each case.
For the error assigned, the judgment below must be
Reversed. *Page 417 